                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN


WILLIAM FEEHAN, et al.,

              Plaintiffs,

      v.                                         Case No. 20-CV-1771

WISCONSIN ELECTIONS
COMMISSION, et al.,

              Defendants.


                             NOTICE OF APPEARANCE


      PLEASE TAKE NOTICE that Defendants, Wisconsin Elections

Commission, and its members, Ann S. Jacobs, Mark L. Thomsen,

Marge Bostelman, Dean Knutson, and Robert F. Spindell, Jr., in their official

capacities, appear in this matter by their attorneys, Joshua L. Kaul, Wisconsin

Attorney     General,       and   S.   Michael   Murphy,   Colin.   T.   Roth,   and

Jody J. Schmelzer, Assistant Attorneys General, and request that service of all

pleadings and other papers be made upon Assistant Attorneys General

Murphy, Roth, and Schmelzer at 17 West Main Street, Madison, Wisconsin,

53703, by first class mail at Post Office Box 7857, Madison, Wisconsin, 53707-

7857, or via the ECF system for the United States District Court for the

Eastern District of Wisconsin.




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     Dated this 3rd day of December 2020.

                                  Respectfully submitted,

                                  JOSHUA L. KAUL
                                  Attorney General of Wisconsin


                                  Electronically signed by:

                                  s/ S. Michael Murphy
                                  S. MICHAEL MURPHY
                                  Assistant Attorney General
                                  State Bar #1078149

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